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          IN THE UNITED STATES DISTRICT COURT FOR THE
                WESTERN DISTRICT OF OKLAHOMA


DUANE & VIRGINIA LANIER TRUST, Individually
and on Behalf of All Others Similarly Situated,

                           Plaintiffs,
                                                  Case No. CIV-15-00634-
                  vs.                             SLP

SANDRIDGE ENERGY INC., et al.,

                           Defendants.




DEFENDANTS’ MOTION FOR PARTIAL JUDGMENT ON THE PLEADINGS
              AND BRIEF IN SUPPORT THEREOF
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       The undersigned Defendants respectfully submit this memorandum of law in

support of their motion for partial judgment on the pleadings pursuant to Rule 12(c) of the

Federal Rules of Civil Procedure.

                                      INTRODUCTION

       Plaintiffs filed this class action asserting claims under the Securities Exchange Act

of 1934 (“Exchange Act”) on June 9, 2015, more than two years after they claim the

putative class learned of the alleged fraud. Because the Exchange Act has a two-year

statute of limitations, the claims are time-barred absent tolling of the limitations period.

Invoking a tolling rule established in American Pipe & Construction. Co. v. Utah, 414 U.S.

538 (1974), Plaintiffs alleged that the statute of limitations was tolled by the filing of a

prior complaint in In re SandRidge Energy, Inc. Securities Litigation, No. 5:12-cv-01341-

W (the “SandRidge Energy Action”), in which claims were asserted on behalf of the same

putative class and then dismissed. The Supreme Court, however, recently clarified that

“[t]ime to file a class action falls outside the bounds of American Pipe.” China Agritech,

Inc. v. Resh, 138 S. Ct. 1800, 1811 (2018).

       Under China Agritech, the American Pipe rule can toll only individual shareholder

claims. This means that a plaintiff may not rely on the doctrine to commence a class action

outside the applicable statute of limitations. See id. at 1804 (“American Pipe does not

permit the maintenance of a follow-on class action past expiration of the statute of

limitations.”); id. at 1806 (“American Pipe does not permit a plaintiff who waits out the

statute of limitations to piggyback on an earlier, timely filed class action.”). As a result,

all claims asserted on behalf of putative class members in this lawsuit (the “Class Claims”)


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are time-barred. The Court should thus grant judgment on the pleadings dismissing the

Class Claims.

       Granting this motion for judgment on the pleadings will streamline this litigation

significantly by rendering moot Plaintiffs’ pending motion for class certification (Dkt.

170). It will also greatly facilitate efforts to mediate this matter at the Court-ordered

mediation scheduled to occur on or before October 31, 2018 (Dkt. 206), by clarifying that

the maximum amount of damages that may be sought in this action are a small fraction of

the $282.3 million that Lead Plaintiffs purport to seek on behalf of the entire putative class

(see Dkt. 212 ¶ 10).

                                  STATEMENT OF FACTS1

       SandRidge Energy, Inc. (“SandRidge”) is an oil and gas exploration company with

properties in the Mississippian formation in Oklahoma and Kansas (“the Mississippian”).

Dkt. 1 ¶ 38; Dkt. 78 ¶¶ 4, 93. Its common stock trades on the New York Stock Exchange.

In 2011 and 2012, SandRidge monetized its interests in certain Mississippian oil and gas

properties by conveying them to two royalty trusts — Mississippian Trust I (“Trust I”) and

Trust II (“Trust II”) — which then sold units to investors in public offerings. Dkt. 1 ¶ 39;

Dkt. 78 ¶¶ 100-01, 177-78. Trust I and Trust II are separate and distinct legal entities, and




1
 For the purposes of this motion only, Defendants accept the facts alleged in the
complaint as true. See, e.g., Metzger v. Am. Fid. Assurance Co., No. 05-cv-1387-M,
2006 WL 2792435, at *2 (W.D. Okla. Sept. 26, 2006) (holding that when reviewing a
motion for judgment on the pleadings under Rule 12(c), a court “must accept all the well-
pleaded allegations of the complaint as true . . . .”).


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the units each issued are distinct securities that trade separately from each other and from

SandRidge common stock. See Dkt. 78 ¶¶ 39-40.

       In November 2012, SandRidge made a number of disclosures, including statements

concerning the performance of oil and gas wells in the Mississippian that allegedly revealed

that the Mississippian had more low-margin natural gas and less high-margin oil than

previously anticipated. Dkt. 1 ¶¶ 70-72; Dkt. 78 ¶¶ 227-30. Following the release of this

and other news, the price of SandRidge common stock and Mississippian Trusts units

dropped. Dkt. 1 ¶¶ 73-74; Dkt. 78 ¶¶ 232-33; Gimbel Decl. Ex. 1, Glitz Third Consolidated

Amended Complaint (“Glitz Third Am. Compl.”) ¶¶ 298, 300-04, 306-07. Specifically,

SandRidge’s common stock dropped 9.7%, from a close of $6.10 per share on November

8, 2012 to a close of $5.51 per share on November 9, 2012. Gimbel Decl. Ex. 1, Glitz

Third Am. Compl. ¶¶ 306-07. The price of Trust I units dropped by 7.4%, from a close of

$18.95 per unit on November 8, 2012 to a close of $17.54 per unit on November 9, 2012.

Dkt. 1 ¶ 74; Dkt. 78 ¶ 232. The price of Trust II units dropped by 8.5%, from a close of

$19.36 per unit on November 8, 2012 to close at $17.70 per unit on November 9, 2012.

Dkt. 1 ¶ 74; Dkt. 78 ¶ 233.

       A.     The SandRidge Energy Action

       Less than a month later, on December 5, 2012, plaintiffs James Glitz and Rodger

Thornberry filed the SandRidge Energy Action on behalf of a putative class of investors in

SandRidge common stock. Gimbel Decl., Ex. 2, Glitz Initial Complaint (“Glitz Compl.”).

The initial complaint did not assert claims on behalf of investors in Trust I or Trust II

securities. The plaintiffs alleged that SandRidge and certain of its officers and directors


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had inflated the value of SandRidge’s common stock by making misrepresentations and

omissions concerning the performance of Mississippian wells, causing SandRidge

common stock to plummet “[w]hen Defendants’ prior misrepresentations and fraudulent

conduct became apparent to the market on November 8, 2012[.]” Id. ¶¶ 66-67.

       Thereafter, the court consolidated the SandRidge Energy Action with a similar case

and appointed several “lead plaintiffs” with authority to file an amended complaint on

behalf of a putative class of SandRidge common stockholders. See Gimbel Decl., Ex. 3,

SandRidge Energy Action (Dkt. 60). On July 23, 2013, the lead plaintiffs in the SandRidge

Energy Action filed their amended complaint. Gimbel Decl. Ex. 4, Glitz Amended

Complaint. The amended complaint for the first time added several new plaintiffs who

sought to assert claims on behalf of a putative class of purchasers of Trust I and Trust II

units. Id. ¶ 54. Specifically, the trust unitholders claimed that the Defendants’ alleged

misrepresentations and omissions concerning Mississippian wells also inflated the price of

Trust units, leading the price of the units to drop precipitously when the “fraud” allegedly

was revealed to the market on November 8 and 9, 2012. Id. ¶¶ 329-30, 349, 355-57; 362

(alleging that the November 9, 2012 price drops “were a direct result of the nature and

extent of Defendants’ fraud finally being revealed to investors and the market”).

       On May 11, 2015, the Court dismissed the new trust unitholder claims without

prejudice for failure to comply with the notice and lead plaintiff requirements of the Private

Securities Litigation Reform Act. See Gimbel Decl., Ex. 5 at 23-24, SandRidge Energy

Action (Dkt. 180).




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       B.         Commencement of The Instant Action

       On June 9, 2015, Lead Plaintiff Lanier Trust commenced this action, seeking to re-

assert the trust unitholder claims that had been dismissed without prejudice from the

SandRidge Energy Action one month earlier.           Like the unitholder plaintiffs in the

SandRidge Energy Action, Lanier Trust alleged that a fraud had been “revealed to investors

and the market” on November 8, 2012, when SandRidge made statements indicating that

“Mississippian formation assets consisted of far more low-margin natural gas deposits and

far fewer high-margin oil deposits than the market had previously been led to believe.”

Dkt. 1 ¶¶ 71, 78-80. Also like the Trust I and Trust II unitholders in the SandRidge Energy

Action, Lanier Trust’s complaint purported to assert claims under Sections 10(b) and 20(a)

of the Securities Exchange Act of 1934 (“the Exchange Act Claims”), both on behalf of

Lanier Trust individually and on behalf of a putative class of purchasers of Trust I or Trust

II common units who acquired shares between April 7, 2011 and November 8, 2012. See

id. ¶¶ 1, 6-7.2

       Lanier Trust’s initial complaint was filed more than two years after the purported

“fraud” allegedly was revealed to the market in November 2012. However, Lanier Trust

alleged that the applicable statutes of limitations for all claims asserted in the complaint,

including the Class Claims, were tolled “as a result of the filing of these claims in a

purported class action in this court titled . . . the ‘SandRidge Energy Action[.]’” Id. ¶ 84.


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  The complaint also asserted claims under Sections 11, 12(a)(2) and 15 of the Securities
Act of 1933, which have since been dismissed as untimely because they were filed after
the expiration of the statute of repose applicable to claims under the Securities Act. See
Dkt. 129 at 2.


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       Over one year later, on November 11, 2016, an amended complaint was filed, which

for the first time joined four new named plaintiffs — Ivan Nibur, Lawrence Ross, Jase

Luna, and Matthew Willenbucher (together with Lanier Trust, “Lead Plaintiffs”) — who

also sought to assert claims both individually and on behalf of a putative class of

Mississippian Trust unitholders. See Dkt. 78 ¶ 1. On February 15, 2018, Lead Plaintiffs

and two proposed intervenors 3 filed a motion for class certification, which remains pending

before the Court. Dkt. 170.

       On June 11, 2018, the Supreme Court issued its decision in China Agritech, Inc. v.

Resh, 138 S. Ct. 1800 (2018), which makes clear that the Class Claims are all time-barred

because tolling is unavailable for claims asserted on behalf of a class. Id. at 1804

(“American Pipe tolls the statute of limitations during the pendency of a putative class

action, allowing unnamed class members to join the action individually or file individual

claims if the class fails” but “does not permit the maintenance of a follow-on class action

past expiration of the statute of limitations.”).

                                     LEGAL STANDARD

       “After the pleadings are closed—but early enough not to delay trial—a party may

move for judgment on the pleadings.” Fed. R. Civ. P. 12(c). If, as here, the movant seeks

only to dismiss certain claims, the motion may seek a partial judgment. See Baum v. Faith

Techs., Inc., 10-CV-0144-CVE-TLW, 2010 WL 2365451, at *2 (N.D. Okla. June 9, 2010)



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  The motion was joined by Deborah Rath, who has a pending motion to substitute for
deceased named plaintiff Lawrence Ross (Dkt. 167), and Reed Romine, who seeks leave
to intervene as a named plaintiff and proposed class representative (Dkt. 166).


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(Rule 12(c) is equally applicable when a party seeks only partial judgment on the

pleadings); see also Hernandez v. Liberty Ins. Corp., CIV-14-892-D, 2015 WL 13567417,

at *2 (W.D. Okla. May 11, 2015) (granting defendant’s motion for partial judgment on the

pleadings).

       When reviewing a motion for judgment on the pleadings under Rule 12(c), a court

“must accept all the well-pleaded allegations of the complaint as true and construe them in

the light most favorable to the non-moving party.” Metzger, 2006 WL 2792435, at *2.

Judgment on the pleadings should be granted where the moving party has “clearly

establish[ed] that no material issue of fact remains to be resolved and the party is entitled

to judgment as a matter of law.” Denver Health and Hosp. Auth. v. Beverage Distribs. Co.,

546 Fed. App’x. 742, 745 (10th Cir. 2013) (unpublished) (quoting Park Univ. Enters., Inc.

v. Am. Cas. Co. of Reading, PA, 442 F.3d 1239, 1244 (10th Cir. 2006)). Courts routinely

grant motions for judgment on the pleadings where the applicable statute of limitations has

run. See e.g., Spurlock v. Townes, No. 9-CV-786 WJ/DJS, 2010 WL 11470590, at *3

(D.N.M. June 23, 2010); Brown v. Alma, Inc., No. 06-2548-JAR, 2007 WL 3046706, at *2

(D. Kan. Oct. 16, 2007); Person v. St. Louis-San Francisco Ry. Co., 428 F. Supp. 1148,

1150 (W.D. Okla. 1976); Miller v. St. Paul Fire & Marine Ins. Co., 480 F. Supp. 32, 33-

34 (W.D. Okla. 1979). As set forth below, that is precisely the case here.




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                                        ARGUMENT

I.     THE APPLICABLE STATUTE OF LIMITATIONS EXPIRED IN NOVEMBER
       2014 BEFORE THIS ACTION WAS COMMENCED.

       The Exchange Act has “a two-year statute of limitations.” China Agritech, 138 S.

Ct. at 1802 (citing 28 U.S.C. § 1658(b)). The statute of limitation runs from the “discovery

of the facts constituting the violation.” 28 U.S.C. § 1658(b). “‘[D]iscovery,’ as used in

Section 1658(b)(1), ‘encompasses not only those facts the plaintiff actually knew, but also

those facts a reasonably diligent plaintiff would have known.’” Farley v. Stacy, 2015 WL

3866836, at *12 (N.D. Okla. Jun 23, 2015) (quoting Merck & Co., Inc. v. Reynolds, 559

U.S. 633, 638 (2010)); see also Roaring Fork Capital SBIC, L.P. v. ATC Healthcare, Inc.,

No. 10-cv-00338-MSK-CBS, 2011 WL 1258504, at *8 (D. Colo. Mar. 29, 2011) (stating

that an investor “‘discovers’ a fraudulent statement either when it actually knows the

relevant facts or when, ‘with due diligence,’ it should have known of those facts”)

(emphasis in original). Accordingly, the statute of limitations begins to run when a plaintiff

“either knew or should have known of the misleading character of [a] [d]efendant[’]s

statement[.]” Roaring Fork Capital SBIC, 2011 WL 1258504, at *9.

       Here, Plaintiffs allege that “the nature and extent of Defendants’ fraud” was

“revealed to investors and the market” on November 8 and 9, 2012. Dkt. 1 ¶¶ 78-80

(alleging that “[t]he declines in the price of SandRidge Trusts units after the disclosures on

November 8th and 9th, 2012, came to light were a direct result of the nature and extent of

Defendants’ fraud finally being revealed to investors and the market”); see also Dkt. 78 ¶¶

228-31 (alleging that risks of poor oil production “previously concealed” by defendants



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were revealed during a November 9, 2012 conference call); see also Gimbel Decl., Ex. 2 ¶

67, Glitz Compl. (“When Defendants’ prior misrepresentations and fraudulent conduct

became apparent to the market on November 8, 2012, SandRidge’s stock price fell

precipitously, as the prior artificial inflation came out of the stock price.”). As a result,

class members’ Exchange Act claims accrued on or before November 9, 2012. Where a

“plaintiff claims that the alleged fraud was disclosed” to the market on a particular date,

courts have no trouble concluding that the plaintiff’s claims accrued by that date. See, e.g.,

In re Eaton Corp. Sec. Litig., No. 16-CV-5894 (JGK), 2017 WL 4217146, at *4 (S.D.N.Y.

Sept. 20, 2017) (where plaintiff alleged that the fraud was disclosed on July 29, 2014, court

ruled that claim accrued on that date and expired two years later); Miller v. Fiedler, No.

1:13-CV-566, 2014 WL 287514, at *7 (W.D. Mich. Jan. 24, 2014) (holding that Exchange

Act claims accrued on date identified in complaint as when defendants’ statements were

revealed to be false); In re Bear Stearns Cos., Inc. Sec., Deriv., & ERISA Litig., 995 F.

Supp. 2d 291, 308 (S.D.N.Y. 2014), aff'd sub nom. SRM Glob. Master Fund LP v. Bear

Stearns Cos., 829 F.3d 173 (2d Cir. 2016) (holding that the statute of limitations for

plaintiff’s Exchange Act claim under Section 18 began to accrue by March of 2008, the

date plaintiff alleged that defendants made corrective disclosures, which revealed

defendants’ alleged fraud).

       Because the Exchange Act claims here accrued by November 9, 2012, the statute of

limitations expired no more than two years later, on November 9, 2014. See 28 U.S.C. §

1658(b). All claims filed after that date are time-barred, in the absence of some basis for

tolling the statute of limitations. See id.


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II.    UNDER CHINA AGRITECH, CLASS CLAIMS ARE NOT SUBJECT TO
       TOLLING AND ARE THEREFORE TIME-BARRED.

       There is no dispute that Lead Plaintiff Lanier Trust filed the initial complaint in this

action long after the natural expiration of the statute of limitations period. For that reason,

Lanier Trust alleged that the limitations period “ha[d] been tolled as a result of the filing

of these claims in a purported class action in this court titled In re SandRidge Energy, Inc.

Securities Litigation, case no. 5:12-cv-01341-W (the ‘SandRidge Energy Action’).” Dkt.

1 ¶ 84. The allegation was an attempt to invoke the American Pipe tolling rule, under

which the filing of a putative class action “tolls the statute of limitations during the

pendency of a putative class action, allowing unnamed class members to join the action

individually or file individual claims if the class fails.” China Agritech, 138 S. Ct. at 1804

(emphasis added). The Supreme Court’s recent decision in China Agritech makes clear,

however, that American Pipe tolling applies only to individual claims; it allows individual

unnamed class members to rely on tolling to assert individual claims later, if the initial

class action fails, but it does not “permit the maintenance of a follow-on class action past

expiration of the statute of limitations.” Id. at 1804, 1806. 4

       In a majority opinion joined by eight of the nine Justices, the Supreme Court

explained that nothing in American Pipe “so much as hints that tolling extends to otherwise



4
  Before the Supreme Court’s decision in China Agritech, there was a circuit split on the
question of whether American Pipe tolling applied to successive class claims. See China
Agritech, 138 S. Ct. at 1805. Although the Tenth Circuit had not yet addressed the issue,
a decision of this Court held that American Pipe tolling extends to class claims as well as
individual claims. See In re Farmers Ins. Co., Inc., FCRA Litig., 738 F. Supp. 2d 1180,
1210 (W.D. Okla. 2010). That decision is no longer good law in light of China Agritech.


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time-barred class claims.” Id. at 1806. Nor do the policies behind American Pipe support

the tolling of class claims:

       The watchwords of American Pipe are efficiency and economy of
       litigation, a principal purpose of Rule 23 as well. Extending
       American Pipe tolling to successive class actions does not serve that
       purpose. The contrary rule, allowing no tolling for out-of-time class
       actions, will propel putative class representatives to file suit well
       within the limitation period and seek certification promptly.

Id. at 1811. For these and other reasons, the Court held that the “[t]ime to file a class action

falls outside the bounds of American Pipe.” Id. The Court’s holding was clear and

unequivocal and, as the concurrence acknowledged, amounts to a “blanket no-tolling-of-

class-claims-ever rule.”       Id. at 1814 (emphasis added) (Sotomayor, J., concurring).

Because class claims may never be tolled under American Pipe, the Class Claims at issue

here are time-barred, and the Court should enter judgment dismissing the claims. 5

III.   A PROMPT RESOLUTION OF THIS MOTION WILL STREAMLINE THIS
       LITIGATION AND FACILITATE THE FORTHCOMING MEDIATION.

       The Court can and should address this motion in advance of the pending motion for

class certification. See Dkt. 170. A court may, in the interest of judicial economy, address



5
  Any other result would run contrary to the concerns over “efficiency and economy of
litigation” articulated in China Agritech. See China Agritech, 138 S. Ct. at 1806. As the
Supreme Court explained, “[t]o benefit from equitable tolling, plaintiffs must
demonstrate that they have been diligent in pursuit of their claims.” Id. at 1808. A
plaintiff who seeks to serve as a class representative after expiration of the limitation
period, however, “can hardly qualify as diligent in asserting claims and pursuing relief.”
Id. Moreover, extending tolling to class claims would “allow extension of the statute of
limitations time and again; as each class is denied certification, a new named plaintiff
could file a class complaint that resuscitates the litigation[,]” “a result [not] envisioned by
American Pipe.” Id. at 1803.


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motions that would dispose of class claims in advance of issuing a decision on class

certification. See, e.g., Floyd v. Bowen, 833 F.2d 529, 534-35 (5th Cir. 1987) (“[T]he class

action litigation may be halted by a Rule 12 motion to dismiss or by a Rule 56 motion for

summary judgment. This is the rule in several other circuits as well.”) (collecting cases);

Ladd v. Equicredit Corp. of Am., CIV. A. 00-2688, 2001 WL 175236, at *1 (E.D. La. Feb.

21, 2001) (staying all class certification issues pending resolution of defendant’s summary

judgment motion); Baughman v. Roadrunner Commc’ns, LLC, CV-12-565-PHX-SMM,

2014 WL 3955262, at *3 (D. Ariz. Aug. 13, 2014) (“Since a decision on the merits may

render all class certification issues moot, the Court may properly refuse to entertain

motions for class certification until a dispositive motion has been resolved.”). Here, if the

Court grants this motion for judgment on the pleadings, it will moot Plaintiffs’ pending

motion for class certification, because there will be no Class Claims to prosecute and

therefore no class to certify.

         In addition to streamlining this litigation by resolving all of the certification issues

before the Court, the prompt resolution of this motion will greatly facilitate the parties’

efforts to settle this matter at the mediation scheduled to occur on or before October 31,

2018 by clarifying the scope of the damages claim in the case. While Plaintiffs currently

purport to seek $282.3 million on behalf of the putative class (see Dkt. 212 ¶ 10),

Defendants believe that the maximum damages recoverable in this action cannot exceed

the approximately $1.2 million in losses claimed by the individual plaintiffs, 6 because all



6
    See Dkt. 37-3 (Plaintiffs’ “Loss chart” asserting $1,151,028.70 in claimed losses).


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of the Class Claims are time-barred. Without clarity as to the scope of the remaining

damages claim, it will be difficult for the parties to mediate productively.

                                       CONCLUSION

       For the foregoing reasons, Defendants respectfully request that the Court (i) grant

Defendants’ motion for partial judgment on the pleadings, and (ii) enter judgment

dismissing all Class Claims. 7




7
  Defendants expressly reserve all defenses as to the remaining individual claims,
including without limitation their statute of limitations defenses.


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Dated: July 2, 2018                               Respectfully Submitted,

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                         CERTIFICATE OF SERVICE

       I hereby certify that on July 2, 2018, I electronically transmitted the attached
document to the Clerk of the Court using the ECF system for filing, which will send
notification of such filing to all counsel registered through the ECF System.


                                        /s/ Thomas B. Snyder
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